           Case 1:18-cr-00199-DAD-BAM Document 90 Filed 11/19/20 Page 1 of 4


 1 MCGREGOR W. SCOTT
   United States Attorney
 2 KATHLEEN A. SERVATIUS
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:18-CR-00199-NONE-BAM
12                                 Plaintiff,            STIPULATION TO CONTINUE STATUS
                                                         CONFERENCE AND ORDER THEREON
13                          v.
14   ELADIO FELIX-LEON, ET. AL.                          Date: November 23, 2020
                                                         Time: 1:00 p.m.
15                                 Defendants.           Honorable Barbara A. McAuliffe
16

17          The United States of America, by and through MCGREGOR W. SCOTT, United States
18 Attorney, and KATHLEEN A. SERVATIUS, Assistant United States Attorneys, and the defendants, by

19 and through their respective attorneys of record, hereby stipulate to continue the status conference in this

20 case from November 23, 2020 until March 24, 2021 at 1:00 p.m.

21          On May 13, 2020, this Court issued General Order 618, which suspends all jury trials in the
22 Eastern District of California until further notice. This General Order was entered to address public

23 health concerns related to COVID-19. Further, pursuant to General Order 611 and 620, this Court’s

24 declaration of judicial emergency under 18 U.S.C. § 3174, and the Ninth Circuit Judicial Council’s

25 Order of April 16, 2020 continuing this Court’s judicial emergency, this Court has allowed district

26 judges to continue all criminal matters to a date after May 1, 2021.1
27
            A judge “may order case-by-case exceptions” at the discretion of that judge “or upon the
            1

28 request of counsel, after consultation with counsel and the Clerk of the Court to the extent such an order
   will impact court staff and operations.” General Order 618, ¶ 7 (E.D. Cal. May 13, 2020).
      STIPULATION TO CONTINUE STATUS CONFERENCE
                                                         1
30
            Case 1:18-cr-00199-DAD-BAM Document 90 Filed 11/19/20 Page 2 of 4


 1          Although the General Orders and declaration of emergency address the district-wide health
 2 concern, the Supreme Court has emphasized that the Speedy Trial Act’s end-of-justice provision

 3 “counteract[s] substantive openendedness with procedural strictness,” “demand[ing] on-the-record

 4 findings” in a particular case. Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-

 5 record findings, there can be no exclusion under” § 3161(h)(7)(A). Id. at 507. And moreover, any such

 6 failure cannot be harmless. Id. at 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153

 7 (9th Cir. 2000) (explaining that a judge ordering and ends-of-justice continuance must set forth explicit

 8 findings on the record “either orally or in writing”).

 9          Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory
10 and inexcusable—General Orders 611, 612, 617, 618, and 620 and the subsequent declaration of judicial

11 emergency require specific supplementation. Ends-of-justice continuances are excludable only if “the

12 judge granted such continuance on the basis of his findings that the ends of justice served by taking such

13 action outweigh the best interest of the public and the defendant in a speedy trial.” 18 U.S.C. §

14 3161(h)(7)(A). Moreover, no such period is excludable unless “the court sets forth, in the record of the

15 case, either orally or in writing, its reason or finding that the ends of justice served by the granting of

16 such continuance outweigh the best interests of the public and the defendant in a speedy trial.” Id.

17          The General Orders and declaration of judicial emergency exclude delay in the “ends of justice.”
18 18 U.S.C. § 3161(h)(7) (Local Code T4). Although the Speedy Trial Act does not directly address

19 continuances stemming from pandemics, natural disasters, or other emergencies, this Court has

20 discretion to order a continuance in such circumstances. For example, the Ninth Circuit affirmed a two-

21 week ends-of-justice continuance following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d

22 764 (9th Cir. 1981). The court recognized that the eruption made it impossible for the trial to proceed.

23 Id. at 767-68; see also United States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to

24 exclude time following the September 11, 2001 terrorist attacks and the resultant public emergency).

25 The coronavirus is posing a similar, albeit more enduring, barrier to the prompt proceedings mandated

26 by the statutory rules.
27          In light of the societal context created by the foregoing, this Court should consider the following
28 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-

      STIPULATION TO CONTINUE STATUS CONFERENCE
                                                            2
30
           Case 1:18-cr-00199-DAD-BAM Document 90 Filed 11/19/20 Page 3 of 4


 1 justice exception, § 3161(h)(7) (Local Code T4).2 If continued, this Court should designate a new date

 2 for the status conference. United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any

 3 pretrial continuance must be “specifically limited in time”).

 4          The parties request that time be excluded between November 23, 2020 and March 24, 2021 for
 5 the following reasons: the defendants need additional time to review the discovery, consult with their

 6 clients, and conduct further investigation. The case involves several wire taps, drug seizures,

 7 approximately 10,000 pages of discovery, and digital discovery in the form of several gigabytes. At

 8 least one counsel has been unable to review discovery with his client due to COVID restrictions at the

 9 Fresno County Jail. The proposed status conference date represents the earliest date that all counsel are

10 available thereafter, taking into account counsels’ schedules, defense counsels’ commitments to other

11 clients, and the need for preparation in the case and further investigation. In addition, the public health

12 concerns cited by General Order 611, 612, and 617 and presented by the evolving COVID-19 pandemic,

13 an ends-of-justice delay is particularly apt in this case because counsel or other relevant individuals have

14 been encouraged to telework and minimize personal contact to the greatest extent possible. It will be

15 difficult to avoid personal contact should the hearing proceed.

16          The parties further believe that time should be excluded, in that failure to grant the requested
17 case schedule would unreasonably deny the defendants continuity of counsel, and unreasonably deny

18 both the defendants and the government the reasonable time necessary for effective preparation, taking

19 into account the parties’ due diligence in prosecuting this case. 18 U.S.C. Section 3161(h)(7)(B)(iv).

20 Based on the above-stated findings, the ends of justice served by the schedule as requested outweigh the

21 interest of the public and the defendant in a trial within the original date prescribed by the Speedy Trial

22 ///

23 ///

24 ///

25 ///

26
            2
            The parties note that General Order 612 acknowledges that a district judge may make
27 “additional findings to support the exclusion” at the judge’s discretion. General Order 612, ¶ 5 (E.D.
   Cal. March 18, 2020).
28

      STIPULATION TO CONTINUE STATUS CONFERENCE
                                                         3
30
           Case 1:18-cr-00199-DAD-BAM Document 90 Filed 11/19/20 Page 4 of 4


 1 Act. Therefore, the parties request that the Court exclude the time until the new trial date from

 2 calculations under the Speedy Trial Act.

 3 Dated: November 16, 2020                                   MCGREGOR W. SCOTT
                                                              United States Attorney
 4

 5                                                            /s/ Kathleen A. Servatius
                                                              KATHLEEN A. SERVATIUS
 6                                                            Assistant United States Attorney

 7
     Dated: November 16, 2020                             /s/ Roger Bonakdar
 8                                                        Attorney for Eladio Felix-Leon

 9
     Dated: November 16, 2020                             /s/ Reed Grantham
10                                                        Attorney for Defendant Jessiel Felix-Ramirez

11

12                                                    ORDER

13          IT IS HEREBY ORDERED that the status conference in this case be continued from November

14 23, 2020 until March 24, 2021 at 1:00 p.m. before Magistrate Judge Barbara A. McAuliffe.

15          IT IS FURTHER ORDERED THAT the ends of justice served by the schedule set forth herein as

16 requested outweigh the interest of the public and the defendants in a trial within the original date

17 prescribed by the Speedy Trial Act for the reasons stated in the parties’ stipulation. For the purpose of

18 computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq., within which trial must

19 commence, the time period of November 23, 2020 until March 24, 2021, inclusive, is deemed

20 excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) because it results from a continuance granted by

21 the Court at the parties’ request on the basis of the Court’s finding that the ends of justice served by

22 taking such action outweigh the best interest of the public and the defendant in a speedy trial.

23 IT IS SO ORDERED.

24
        Dated:     November 19, 2020                            /s/ Barbara A. McAuliffe              _
25                                                     UNITED STATES MAGISTRATE JUDGE
26
27

28

      STIPULATION TO CONTINUE STATUS CONFERENCE
                                                          4
30
